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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
_______________________________________
                                          )
D.V.D., et al.,                           )
                                          )
                Plaintiffs,               )
                                          )       Civil Action No.
      v.                                  )       25-10676-BEM
                                          )
U.S. DEPARTMENT OF HOMELAND               )
SECURITY, et al.,                         )
                                          )
                Defendants.               )
_______________________________________)

                   MEMORANDUM ON PRELIMINARY INJUNCTION

MURPHY, J.

       At today’s hearing, the Court found that Defendants violated the Preliminary Injunction

entered in this case by failing to provide six non-citizen class members a “meaningful opportunity”

to assert claims for protection under the Convention Against Torture before initiating removal to

a third country. See Dkt. 64 at 46–47.

       Defendants maintain that ambiguity in the phrase “meaningful opportunity” precipitated

this controversy. Indeed, when the Court issued the Preliminary Injunction, it declined to elaborate

on what constitutes a “meaningful opportunity,” preferring instead to let experience show through

hard cases the finer points of what is required under the Due Process Clause.

       To be clear, this is not one of those hard cases. Giving every credit to Defendants’ account,

the non-citizens at issue had fewer than 24 hours’ notice, and zero business hours’ notice, before

being put on a plane and sent to a country as to which the U.S. Department of State issues the

following warning: “Do not travel to South Sudan due to crime, kidnapping, and armed

conflict.”   South Sudan Travel Advisory, U.S. DEPARTMENT OF STATE, Mar. 8, 2025,

https://perma.cc/XQN7-VXHV (emphasis in original). As detailed on the record during today’s
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hearing, further facts regarding the unavailability of information, the hurried and confused notice

that the individuals received, language barriers, and attorney access compound and confirm this

Court’s finding that no reasonable interpretation of the Court’s Preliminary Injunction could

endorse yesterday’s events.

       Nevertheless, given Defendants’ position that further detail would help Defendants

comply, the Court offers the following summary and clarification of its Preliminary Injunction:

       All removals to third countries, i.e., removal to a country other than the country or countries

designated during immigration proceedings as the country of removal on the non-citizen’s order

of removal, see 8 U.S.C. § 1231(b)(1)(C), must be preceded by written notice to both the

non-citizen and the non-citizen’s counsel in a language the non-citizen can understand. Dkt. 64 at

46–47. Following notice, the individual must be given a meaningful opportunity, and a minimum

of ten days, to raise a fear-based claim for CAT protection prior to removal. See id. If the

non-citizen demonstrates “reasonable fear” of removal to the third country, Defendants must move

to reopen the non-citizen’s immigration proceedings. Id. If the non-citizen is not found to have

demonstrated a “reasonable fear” of removal to the third country, Defendants must provide a

meaningful opportunity, and a minimum of fifteen days, for the non-citizen to seek reopening of

their immigration proceedings. Id.

       This Preliminary Injunction applies to the Defendants, including the Department of

Homeland Security, as well as their officers, agents, servants, employees, attorneys, any person

acting in concert, and any person with notice of the Preliminary Injunction. Fed. R. Civ. P.

65(d)(2); see also Dkts. 86, 91. Accordingly, no Defendant may avoid their duty to follow the

Preliminary Injunction by involving or ceding responsibility to any other person. See Dkt. 86.




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So Ordered.

                                     /s/ Brian E. Murphy
                                     Brian E. Murphy
Dated: May 21, 2025                  Judge, United States District Court




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